                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

IN RE SEALED SEARCH WARRANT
EXECUTED AT 5914 N. TAMPA ST.
                                                    Case No.: 23-mc-1066

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  TIMES PUBLISHING COMPANY’S MOTION TO INTERVENE FOR THE
  LIMITED PURPOSE OF OBTAINING ACCESS TO SEARCH WARRANT
    COURT RECORDS WITH SUPPORTING MEMORANDUM OF LAW
      Times Publishing Company (“The Times”), publisher of The Tampa Bay

Times, moves to intervene in this matter for the limited purpose of unsealing and

obtaining access to all documents filed with this Court related to a search warrant

executed on Monday, May 8, 2023, at 5914 North Tampa Street, Tampa, FL 33604,

the residence of reporter Tim Burke and Tampa City Councilwoman Lynn Hurtak

(the “Search Warrant Records”).

      The requested Search Warrant Records include, without limitation: (1) the

search warrant itself; (2) the search warrant application; (3) any motion to seal

search warrant-related records; (4) any resultant order regarding a motion to seal;

(5) any search warrant returns; and (6) all probable cause affidavits filed in support

of obtaining the search warrant.

      Mr. Burke and Councilwoman Hurtak have publicly confirmed and

discussed the search, which has been widely reported locally and statewide by
news outlets. The Times thus requests this Court enter an Order granting it leave

to intervene and immediately unsealing all Search Warrant Records currently

under seal, and otherwise making all such records presently available for public

review.

                                MEMORANDUM OF LAW

I.     Background Regarding the Search Warrant Records.

       On Monday, May 8, 2023, Federal Bureau of Investigation (“FBI”) agents,

acting pursuant to a search warrant, searched Mr. Burke and Councilwoman

Hurtak’s residence, seizing records. The search has been the subject of intense

news coverage.1


1 See, e.g., Tampa City Council member Lynn Hurtak’s home searched by FBI, Tampa Bay Times, May
8, 2023, available at: https://www.tampabay.com/news/florida-politics/2023/05/08/tampa-
city-council-member-lynn-hurtaks-home-searched-by-fbi/; Lynn Hurtak says FBI search was related
to husband’s work as a journalist, Bay News 9, May 10, 2023, available at:
https://www.baynews9.com/fl/tampa/news/2023/05/09/fbi-agents-search-home-of-tampa-
city-council-member-lynn-hurtak; FBI raids Lynn Hurtak’s home after husband named on search
warrant, Florida Politics, May 9, 2023, available at: https://floridapolitics.com/archives/610907-
fbi-raids-lynn-hurtaks-home-after-husband-named-on-search-warrant/; Councilwoman claims
FBI search of family home was related to husband's work as journalist, ABC Action News, updated May
10, 2023, available at: https://www.abcactionnews.com/news/region-hillsborough/fbi-searches-
tim-burke-and-lynn-hurtaks-home-monday; Questions remain after FBI raids home of Tampa city
council       member,      Fox    13      Tampa      Bay,      May       9,   2023,   available  at:
https://www.fox13news.com/news/questions-remain-after-fbi-raids-home-of-tampa-city-
council-member; Details unclear after FBI seizes electronics from Tampa journalist Timothy Burke,
husband of councilwoman Lynn Hurtak, Tampa Bay Creative Loafing, May 9, 2023, available at:
https://www.cltampa.com/news/details-unclear-after-fbi-seizes-electronics-from-tampa-
journalist-timothy-burke-husband-of-councilwoman-lynn-hurtak-15607368; FBI Raids Home of
Tampa City Councilwoman Lynn Hurtak and Journalist Tim Burke, Daily Beast, May 9, 2023, available
at: https://www.thedailybeast.com/fbi-raids-home-of-tampa-city-councilwoman-lynn-hurtak-
and-journalist-tim-burke.

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      To date, despite the immense public interest in the search, the public,

including The Times, has been prevented from accessing any court records related

to this search warrant, including the warrant itself. However, once a warrant is

executed, the warrant itself, at a minimum, is routinely available. Nonetheless, all

records have been sealed relating to this search. In addition, the typical docket is

not readily available.

      This matter is one of utmost public interest, involving a well-known

journalist and a current government official.

      The Times has devoted significant newsgathering resources to providing

the public with information about this search in a climate in which the uncertainty

about the purpose and basis of the search is fueling speculations and conspiracy

theories. Access to all Search Warrant Records—which currently appear to be

under seal—would facilitate The Times’ efforts to inform the public of these highly

newsworthy events in a timely and comprehensive manner.

II.   The Times Has Standing to Intervene.

      The Eleventh Circuit has recognized the news media’s right to intervene in

matters to challenge the denial of access to court records. See, e.g., United States v.

Ellis, 90 F.3d 447, 449 (11th Cir. 1996), cert. denied, 519 U.S. 1118 (1997); Newman v.

Graddick, 696 F.2d 796, 800 (11th Cir. 1983).    Only through intervention can the

public’s right to open courts and records be vindicated. Newman, 696 F.2d at 800.


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       There is no question that The Times has standing to intervene for access as

a news organization. It publishes The Tampa Bay Times, a daily newspaper of

general circulation throughout the Tampa Bay area and statewide. The Times also

maintains a news website at www.tampabay.com.               Its journalists use public

records, including court records, as important newsgathering sources.                For

decades, The Times has reported on Tampa government officials.

III.   This Court Should Grant Access to the Search Warrant Records.

   A. A Presumptive Right of Access Attaches to the Search Warrant Records.

       As the Eleventh Circuit has recognized, “[t]he press has standing to

intervene in actions to which it is otherwise not a party in order to petition for

access to court proceedings and records.” Comm’r, Ala. Dep’t of Corr. v. Advance

Local Media, LLC, 918 F.3d 1161, 1170 (11th Cir. 2019); Newman, 696 F.2d at 800. This

right has been extended both to criminal trial proceedings and certain court

records. See, e.g., Press-Enterprise Co. v. Superior Court of California, 478 U.S. 1, 10,

13 (1986) (“Press-Enterprise II”) (right of access to preliminary hearings); Press-

Enterprise Co. v. Superior Court of California, 464 U.S. 501 (1984) (right of access to

voir dire); Associated Press v. United States District Court, 705 F.2d 1143, 1145 (9th

Cir. 1983) (right of access to court records and transcripts).            Further, this

constitutional right attaches to records that have been historically available to the




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public and whose disclosure advances the functioning of the judicial system.

Press-Enterprise II, 487 U.S. at 8-9.

       In addition, both the First Amendment and the common law protect the

media and the general public’s right of access to judicial proceedings and records.

See Chicago Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1310-11 (11th Cir.

2001); see Nixon v. Warner Commc’ns, 435 U.S. 589, 597-98 (1978) (recognizing a

common law right to access judicial records). In fact, the Eleventh Circuit “has

been resolute” in enforcing the “presumption of public access” to judicial records

because “access to judicial proceedings is crucial to our tradition and history, as

well as to continued public confidence in our system of justice.” Callahan v. United

Network for Organ Sharing, 17 F.4th 1356, 1358-59 (11th Cir. 2021).

       Search warrants and the documents filed in support of search warrant

applications are judicial records entitled to this presumption of access. See, e.g.,

United States v. Peterson, 627 F. Supp. 2d 1359, 1374 (M.D. Ga. 2008); United States

v. Vives, 2006 U.S. Dist. LEXIS 92973, at *2-3 (S.D. Fla. Dec. 21, 2006); In re Four

Search Warrants, 945 F. Supp. 1563, 1567 (N.D. Ga. 1996); In re Search of Office Suites

for World & Islam Studies Enter., 925 F. Supp. 738, 742 (M.D. Fla. 1996); United States

v. Shenberg, 791 F. Supp. 292, 293 (S.D. Fla. 1991).2




2See also L.A. Times Commcn’s, LLC v. United States, 28 F.4th 292, 297 (D.C. Cir. 2022); United
States v. Sealed Search Warrants, 868 F.3d 385, 396 (5th Cir. 2017); Baltimore Sun Co. v. Goetz, 886

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       As one court has explained, “public access to documents filed in support of

search warrants is important to the public’s understanding of the function and

operation of the judicial process and the criminal justice system and may operate

as a curb on prosecutorial or judicial misconduct.” In re Search Warrant for

Secretarial Area Outside Office of Gunn (“Gunn”), 855 F.2d 569, 573 (8th Cir. 1988).

Thus, in general, “once the warrant and application have been returned to the

court, the public and press should have full access.” In re Search of Office Suites, 925

F. Supp. at 742.

       This presumptive right can be overcome only if the government

demonstrates an overriding interest to justify sealing and such sealing is no more

restrictive than required to protect that interest. See id.

       This First Amendment and common law right of access is grounded in the

value afforded to public monitoring of judicial proceedings. “[The] right to inspect

and copy judicial records . . . like the right to attend judicial proceedings, is

important if the public is to appreciate fully the often significant events at issue in

public litigation and the workings of the legal system.” Newman 696 F.2d at 803.

Just as with open court proceedings, broad public access to filed court records

helps ensure “that the proceedings [are being] conducted fairly,” while




F.2d 60, 64 (4th Cir. 1989); In re Search Warrant for Secretarial Area Outside Office of Gunn
(“Gunn”), 855 F.2d 569, 573 (8th Cir. 1988).

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discouraging “perjury, the misconduct of participants, and decisions based on

secret bias or partiality.” Richmond Newspapers, Inc. v. Virginia, 448 U.S. 555, 569

(1980); see also Associated Press, 705 F.2d at 1145 (“there is no reason to distinguish

between pretrial proceedings and the documents filed in regard to them”).

      Public access further promotes the “public acceptance of both the [judicial]

process and its results,” an “awareness that society’s responses to criminal conduct

are underway,” and the “prophylactic aspects of . . . community catharsis.”

Richmond Newspaper, 448 U.S. at 571; Press-Enterprise, 478 U.S. at 9. For these

reasons, “[a] presumption of access must be indulged to the fullest extent not

incompatible with the reasons for closure.” Newman, 696 F.2d at 802; see also United

States v. Rosenthal, 763 F.2d 1291, 1293 (11th Cir. 2007) (recognizing “presumptive

common law right to inspect and copy judicial records.”)

      Those policy considerations are certainly present when considering whether

the Search Warrant Records should remain sealed. As Gunn explained:

      [E]ven though a search warrant is not part of the criminal trial itself,
      like voir dire, a search warrant is certainly an integral part of a
      criminal prosecution. Search warrants are at the center of pre-trial
      suppression hearings, and suppression issues often determine the
      outcome of criminal prosecutions.

855 F.2d at 573.




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   B. Government Bears the Burden of Overcoming Public Access Rights.

      It is the government’s burden to overcome this presumption of access. For

warrant records to remain under seal a court must determine, in clearly articulated

findings, that the government established a specific, compelling interest justifying

an ongoing seal that is no broader than necessary to serve that interest. See In re

Search of Office Suites, 925 F. Supp. at 742; Brown v. Advantage Eng’g, Inc., 960 F.2d

1013, 1015-16 (11th Cir. 1992); Wilson v. Am. Motors Corp., 759 F.2d 1568, 1570-71

(11th Cir. 1985).

      In evaluating whether there is good cause to overcome the common law

presumption of access, courts consider factors including “whether the records

are sought for such illegitimate purposes as to promote public scandal or gain

unfair commercial advantage, whether access is likely to promote public

understanding of historically significant events, and whether the press has

already been permitted substantial access to the contents of the records.” Comm’r,

Ala. Dep’t of Corr., 918 F.3d at 1169. Courts also consider “whether allowing

access would impair court functions or harm legitimate privacy interests, the

degree of and likelihood of injury if made public, the reliability of the

information, whether there will be an opportunity to respond to the information,

[and] whether the information concerns public officials or public concerns.”

Romero v. Drummond Co., 480 F.3d 1234, 1246 (11th Cir. 2007).


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      However, naked assertions of some interest justifying secrecy, devoid of

particulars, will not justify closure. Rather, for each record that the government

claims sealing remains necessary, it must “describe in considerable detail the

nature, scope and direction of the government’s investigation and the individuals

and specific projects involved.” Gunn, 855 F.2d at 574; see also Peterson, 627 F. Supp.

2d at 1374 (granting motion to unseal where government “failed to articulate a

sufficient reason to keep the warrant and affidavit under seal”); Vives, 2006 U.S.

Dist. LEXIS 92973, at *3 (government must show that “sealing is essential to

preserve higher values”).

       Further, to the extent any claim is made that disclosure will compromise

the identities of cooperating persons, a compelling justification for continued

secrecy must also be established. See In re Searches of Semtex Indus. Corp., 876 F.

Supp. 426, 429 (E.D.N.Y. 1995).

      At bottom, in every case, and for every item of information, the

government’s arguments for sealing must be “supported by the record” and mere

“conclusory assertions are insufficient to allow review; specificity is required.”

Newman, 696 F.2d at 803; In re The Baltimore Sun Co., 886 F.2d 60, 66 (4th Cir. 1989).

      After the government provides its arguments, the Court then undertakes its

analysis for each document sought to be sealed on a record-by-record basis.




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      When doing so, the Court must consider whether the disclosure of each

individual record comprising the Search Warrant Records would compromise the

government’s asserted interest. See, e.g., Chicago Tribune Co., 263 F.3d at 1314-15

(holding that district court failed to make sufficient factual findings regarding

“specific documents” and directing it to consider “the nature and character of the

information in question,” supporting its decision “by findings of fact”); see also

Wellcare Health Plans, Inc., No. 8:07-MJ-1466-TGW, 2007 WL 4240740, at *1 (M.D.

Fla. Nov. 28, 2007) (assessing each warrant-related document individually and

finding warrant, exhibits, return, motion to seal and sealing order all public); Vives,

2006 U.S. Dist. LEXIS 92973, at *2-5 (analyzing request to unseal various docket

entries on document-by-document basis and unsealing, with minor redactions,

draft of warrant and search warrant affidavit); In re Search of Office Suites, 925 F.

Supp at 739 (unsealing affidavit and order sealing affidavit in support of search

warrant while sealing affidavit itself).

      Just like the Wellcare court determined, the presumption of access is

particularly difficult to overcome for records like the warrant itself, any motion to

seal, and any resulting sealing order. Additionally, records whose contents have

already been acknowledged—such as in this case where the particulars of the

actual search warrant were disclosed by Mr. Burke and Councilwoman Hurtak—

can no longer present a disclosure risk. See Peterson, 627 F.2d at 1373 (recognizing


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that “whether the press has already been permitted substantial access to the

contents of the records” must be considered in determining whether to allow

access to judicial records).

      Even if the government were to establish a compelling reason to justify a

continued seal, this Court must consider the proper scope of that seal and whether

alternatives to total closure exist. See In re Search of Office Suites, 925 F. Supp. at

743; see also Romero, 480 F.3d at 1246 (courts consider “the availability of a less

onerous alternative to sealing the documents”); Vives, 2006 U.S. Dist. LEXIS 92973,

at *3 (restrictions on access must be “narrowly tailored to serve the interest”

identified). As such, this Court should consider whether the redaction of limited

information would serve to protect any established compelling interest. See, e.g.,

Shenberg, 791 F. Supp. at 294 (requiring redaction of certain sensitive information

contained within search warrant affidavit before making it public); In re: Sealed

Search Warrant, Case No. 22-8332-BER, Slip Op. at 1 (ECF Nos. 74 & 80) (S.D. Fla.

Aug. 18 and Aug. 22 and Aug. 25, 2022) (ordering unsealing of redacted affidavit);

In re: Sealed Search Warrant, Case No. 22-8332-BER, Slip Op. at 13 (ECF Nos. 80, 94)

(S.D. Fla. Aug. 22, 2022) (ordering unsealing of redacted affidavit).


      For example, in Vives, the court unsealed an affidavit in support of a search

warrant but permitted redaction of a confidential informant number because




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release of that information “could hinder government investigations and lead to

the identification of a cooperating witness.” 2006 U.S. Dist. LEXIS 92973, at *3.

      This is far from the typical case. The investigation has been made public by

the target and details of the investigation have appeared in publications

throughout Tampa Bay. In short, with so much publicity surrounding the search,

the Court should be skeptical about any possible government claims that

disclosure of this true information will invade privacy, disturb the confidentiality

of an investigation, tip off potential witnesses, or lead to the destruction of

evidence.

   C. The Public Interest In Current Government Official’s Actions Is
      Particularly High And Favors Access.

      Investigations regarding the conduct of public officials are of the utmost

public interest. Naturally, courts have recognized that interest while assessing

public access rights, and that consideration weighs heavily in any balance between

competing access rights and secrecy concerns. See, e.g., Romero, 480 F.3d at 1246

(“[i]n balancing the public interest in accessing court documents against a party's

interest in keeping the information confidential, courts consider…whether the

information concerns public officials or public concerns….”); United States v.

Beckham, 789 F.2d 401, 413 (6th Cir. 1986) (“[W]hen the conduct of public officials

is at issue, the public's interest in the operation of government adds weight in the

balance toward allowing permission to copy judicial records.”) United States v.

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Edwards, 672 F.2d 1289, 1294 n.11 (7th Cir. 1982) (“there is a strong presumption in

support of the common law right to inspect and copy judicial records,”

particularly where “the trial bore upon the conduct of a public official”).

      There can be no doubt that an FBI search of a sitting City Council member’s

and a well-known reporter’s residence is of core public concern. So too is this

Court’s decision to authorize that search.

IV.   Conclusion.

      For the foregoing reasons, The Times respectfully requests this Court enter

an Order granting it leave to intervene in this matter and providing it immediate

access to the Search Warrant Records.

                    LOCAL RULE 3.01(g) CERTIFICATION

      Undersigned counsel for The Times Publishing Company certifies that on

the afternoon of May 12, 2023, counsel made reasonable efforts to confer with the

United States Attorney’s Office for the Middle District of Florida. Counsel called

the U.S. Attorneys’ Office and left a voicemail. However, due to the sealed nature

of this matter, counsel is unaware of which Assistant U.S. Attorney is handling the

matter, creating an additional hurdle for a conferral. Pursuant to Rule 3.01(g)(3),

counsel will supplement this certification within three days after either contact

with the United States Attorney’s Office or expiration of the three days.




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Dated: May 12, 2023                    Respectfully submitted,

                                       THOMAS & LOCICERO PL

                                       /s/ Carol Jean LoCicero
                                       Carol Jean LoCicero (FBN 603030)
                                       Jon M. Philipson (FBN 92960)
                                       601 South Boulevard
                                       Tampa, FL 33606
                                       Telephone: (813) 984-3060
                                       Facsimile: (813) 984-3070
                                       clocicero@tlolawfirm.com
                                       jphilipson@tlolawfirm.com
                                       tgilley@tlolawfirm.com

                                       Attorneys for Times Publishing Company

                           CERTIFICATE OF SERVICE

       I hereby certify that on May 12, 2023, a true and correct copy of the foregoing
document is being electronically filed and will be furnished via CM/ECF. A copy
of the foregoing is also being served by hand delivery, to:

      U.S. Attorney’s Office
      Middle District of Florida
      Tampa Division
      400 North Tampa Street
      Suite 3200
      Tampa, FL 33602

                                              /s/ Carol Jean LoCicero
                                              Carol Jean LoCicero




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